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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

THE UNITED STATES OF AMERICA
ex rel. Wayne Allison,

             Plaintiffs,

     v.
                                          CASE NO. CIV-16-569-F


SOUTHWEST ORTHOPAEDIC
SPECIALISTS, PLLC, et al.


             Defendants.




     DEFENDANTS OKLAHOMA CENTER FOR ORTHOPAEDIC &
    MULTISPECIALTY SURGERY, LLC, USP OKLAHOMA, INC., USPI
    HOLDING COMPANY, INC., USP INTERNATIONAL, INC., UAP OF
   OKLAHOMA, LLC’S MOTION TO DISMISS AND BRIEF IN SUPPORT



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         Defendants Oklahoma Center for Orthopaedic & Multispecialty Surgery, LLC

(“OCOM”), USP Oklahoma, Inc. (“USP”), USPI Holding Company, Inc. (“USPH”),

USP International, Inc. (“USPI”),1 UAP of Oklahoma, LLC (“UAP”) (collectively, the

“USP Defendants”) respectfully move to dismiss this False Claims Act (“FCA”) qui tam

action pursuant to Rules 12(b)(6) and 9(b) of the Federal Rules of Civil Procedure.

         Relator Wayne Allison is an attorney who filed this lawsuit when he was

employed by Southwest Orthopaedic Specialists PLLC (“SOS”), an orthopedic surgery

clinical practice comprised of a group of surgeons (the “SOS Doctors”). He seeks to

recover millions from his former employer and several related entities and individuals.

Notwithstanding the ethical issues raised by an attorney suing his client and the manner

in which he has pursued the litigation thus far,2 the Second Amended Complaint (“SAC”)

should be dismissed for failing to state a claim upon which relief can be granted.

         Relator alleges various ostensibly improper financial relationships among SOS,

the SOS Doctors, and other non-SOS entities and individuals including the USP


1
    USP International, Inc. is not the name of any legal entity.
2
  As conceded in his pleading, Relator acted as an attorney for many of the defendants he
is now suing. See, e.g., Second Amended Complaint (“SAC”) ¶¶ 206, 211. Relator also
destroyed documents directly relevant to this lawsuit—a fact that is a matter of public
record. See Transcript of Proceedings on May 12, 2017 at 31-35, 42-43, 48, Southwest
Orthopaedic Specialists, P.L.L.C. v. Allison, CJ-2017-2531 (Okla. Sup. Ct.). Both of
these issues have a bearing on Relator’s ability to bring this lawsuit separate and apart
from this Motion. An attorney’s ethical obligations, including the duty of confidentiality,
prohibit the filing of whistleblower suits against client. See, e.g., U.S. ex rel. Holmes v.
Northrop Grumman Corp., 642 F. App’x 373 (5th Cir. 2016); United States v. Quest
Diagnostics, 734 F.3d 154 (2d Cir. 2013). Nor can a plaintiff pursue a matter after
purposefully destroying key evidence. See Ehrenhaus v. Reynolds, 965 F.2d 916, 921
(10th Cir. 1992); Anaeme v. FHP of New Mexico, 201 F.3d 447 (10th Cir. 1999).

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Defendants, Tenet Healthcare Corporation (“Tenet”), Anesthesia Partners of Oklahoma,

LLC (“APO”), Integris Ambulatory Care Corporation and Integris South Oklahoma City

Hospital Corporation (together, “Integris”), and Steve Hendley and Michael Kimzey. His

lengthy pleading culminates in a kitchen-sink listing of fourteen counts against the

various defendants, many of whom are not mentioned in the relevant factual allegations.

Tellingly, the government has declined to pursue any of these claims.3

      Relator’s pleading fails to state a claim under the federal and Oklahoma FCAs

under applicable pleading standards. First, and as explained in Section I, despite the

prolix nature of the SAC, it lacks required details tying each description of

noncompliance with a false claim as required to establish liability under the False Claims

Act pursuant to governing Tenth Circuit precedent: “Liability under the FCA requires a

false claim—a ‘defendant’s presentation of a false or fraudulent claim to the government

is a central element of every False Claims Act case.’” U.S. ex rel. Sikkenga v. Regence

Bluecross Blueshield of Utah, 472 F.3d 702, 727 (10th Cir. 2006) (citing U.S. ex rel.

Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 232 (1st Cir. 2004); U.S. ex rel.

Clausen v. Lab. Corp. of Am., 290 F.3d 1301, 1311 (11th Cir. 2002); Harrison v.

Westinghouse Savannah River Co., 176 F.3d 776, 785 (4th Cir. 1999)). Relator fails to

3
  See, e.g., U.S. ex rel. Harman v. Trinity Indus., 872 F.3d 645, 665 (5th Cir. 2017)
(dismissing FCA action where federal government and eight out of nine states declined to
intervene in the action); U.S. ex rel. Petratos v. Genentech Inc., 855 F.3d 481, 490 (3d
Cir. 2017) (emphasizing that DOJ declined to intervene in the suit and concluding that
because “we do not think it appropriate for a private citizen to enforce these regulations
through the False Claims Act”); U.S. ex rel. Jamison v. McKesson Corp., 649 F.3d 322,
331 (5th Cir. 2011) (noting that the government chose to intervene against certain
defendants and stating that the case against the others “presumably lacked merit”).


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identify a single false claim submitted to the government and his FCA claims should be

dismissed on this ground alone.

       Second, while he attempts to predicate FCA liability on an alleged violation of the

federal anti-kickback statute, 42 U.S.C. § 1320a-7b (the “AKS”), he does not adequately

plead the elements and supporting facts of this law.         Third, there are no factual

allegations as to certain defendants for many of the purported “schemes,” and those

claims should be dismissed as to those defendants under Rule 9(b). Finally, Relator fails

to provide required details regarding any false statement as to these alleged “schemes.”

       The remaining counts likewise fail to state a claim: no specifics or underlying

violation support the conspiracy claim (Section II); the state FCA claims warrant

dismissal for the same reasons discussed in Sections I and II (Section III); the reverse

FCA is inapplicable to the facts alleged (Section IV); there is no independent cause of

action for violation of the Stark Law (Section V); and a significant portion of the claims

are barred by the FCA’s six-year statute of limitations (Section VI).4

       In short, the allegations, even taken as true for this motion, do not constitute an

FCA violation and the SAC should be dismissed with prejudice (Section VII).

                      FACTUAL AND LEGAL BACKGROUND

       On May 27, 2016, Relator filed this action under federal and state False Claims

Acts (Doc. No. 1). The qui tam provisions of the FCA permit private parties (relators) to

file suit alleging fraud against the government and to receive a reward from recovered

4
  Relator’s allegations are even more tangential as to Tenet, and should be dismissed as to
Tenet for the reasons explained in this Brief as well as the additional and independent
reasons in Tenet’s Motion to Dismiss and Brief in Support (filed Oct. 12, 2018).


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monies.    31 U.S.C. § 3730(d).     Qui tam cases are filed under seal, affording the

government time to investigate and determine whether to intervene. Id. § 3730(b).

       Relator is a practicing attorney licensed by the State of Oklahoma and was

employed by SOS when he filed this action. SAC ¶¶ 20-21.5 Relator’s pleading, which

he has amended twice (Doc. Nos. 7, 38), sets forth two general categories of allegations:

(1) “direct” violations of the FCA by SOS and the SOS Doctors (collectively the “SOS

Defendants”) by submitting “factually false” claims for payment for procedures that were

not medically necessary or not actually performed (SAC ¶¶ 175-89); and (2) an

attenuated theory that various “improper financial relationships” exist among the SOS

Defendants, the hospital they founded (OCOM), and the entities that have an ownership

interest in the hospital (i.e., the other USP Defendants) (SAC ¶¶ 95-174).

       After two years, on May 2, 2018, the United States government and the State of

Oklahoma intervened only as to the first of these two categories, which pertained to the

SOS Defendants only. See Doc. No. 36. On July 12, 2018, this Court dismissed that first

category of claims with prejudice pursuant to a settlement agreement between the SOS

Doctors, the United States and the State of Oklahoma. See Doc. No. 57. The government

5
  Recognizing the complex ethical issues his role as an attorney poses for his ability to
pursue this lawsuit, Relator attempts to disavow his legal role as it pertains to these
allegations. SAC ¶ 22. But his attempt fails because in very same pleading, he
acknowledges advising SOS and the SOS Doctors on “compliance with healthcare laws”
(¶¶ 206, 211) and the “many steps, requirements, time required, and difficulties involved
in providing [certain medical services] in compliance with healthcare laws,” including
identifying proper “CMS Form[s]” that require “specific attestations” about compliance
with federal law (¶ 211). He further acknowledges providing legal representation for
“certain individual Defendants,” and possibly participating in “confidential conversations
with outside counsel through his employment with SOS” (¶ 22).


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explicitly declined to intervene in the second category of claims regarding the financial

relationships among the SOS Defendants, OCOM, and entities with an ownership interest

in the hospital. Id. It is those claims that are the subject of this motion to dismiss.

       These claims involve a series of allegedly “improper financial relationships, or

Schemes, to reward SOS Doctors for past referrals and incentivize future referrals of

patient services under federal healthcare programs to OCOM.” SAC ¶ 95. In addition to

the SOS Defendants and OCOM, Relator names as defendants numerous entities with

purported ownership interests in OCOM, including the USP Defendants and Tenet.

       The SAC highlights “two core schemes—the Equity Scheme and the Employment

Contract Scheme” (id.)—but includes a total of eleven purportedly unlawful financial

relationships (two of which have been dismissed) spanning more than a decade (far

beyond the applicable statute of limitations) and fourteen counts. Relator bases his FCA

claims on alleged violations of the AKS; the physician self-referral law (known as the

“Stark Law”), 42 U.S.C. § 1395nn(a)(1); and the state-level counterparts to these statutes

in the State of Oklahoma.       The attached table provides, for the Court’s reference,

a summary of these alleged “schemes,” their time period, the defendants named, and

the counts and claims associated with each. See Exhibit 1 (table summarizing claims).

       Notably, the SAC does not identify, for any of the remaining nine alleged

“schemes,” a single false claim for payment—the sine qua non of FCA liability. Rather,

Relator proceeds under a “tainted claims” theory, contending in a general, conclusory

fashion that the “[s]chemes taint all reimbursements OCOM received from the

Government resulting from referrals from SOS Doctors from at least 2007 under the


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Stark Law, AKS, FCA, and/or OKFCA.” SAC ¶ 7 (emphasis added); see also, e.g., id.

¶¶ 7.e, 18, 90, 135. In addition to these alleged “schemes,” the SAC includes retaliation

claims against the SOS Defendants (Counts 13-14) and an additional FCA claim against

Tenet regarding its purported failure to report under its 2016 non-prosecution agreement

(Count 8).

                                   LEGAL STANDARD

       “To survive a motion to dismiss under 12(b)(6), a complaint must contain ‘enough

facts to state a claim to relief that is plausible on its face.’” Schrock v. Wyeth, Inc., 727

F.3d 1273, 1280 (10th Cir. 2013) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Court must

generally accept the complaint’s allegations as true, but allegations that state “legal

conclusions” or “[t]hreadbare recitals of the elements of a cause of action” “are not

entitled to the assumption of truth.” Id. at 678-79. The burden is on the Plaintiff to show

“reason to believe that [he] has a reasonable likelihood of mustering factual support for

[his] claims.” Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008).

       Because these claims “involve fraudulent conduct, Rule 9(b)’s heightened

pleading requirements apply.” U.S. ex rel. Sharp v. E. Okla. Orthopedic Ctr., No. 05-

CV-572-TCK-TLW, 2009 WL 499375, at *3 (N.D. Okla. Feb. 27, 2009). Rule 9(b)

provides that a party “alleging fraud” must “state with particularity the circumstances

constituting fraud.” Fed. R. Civ. P. 9(b); Steed v. Warrior Capital, LLC, No. CIV-06-


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348-F, 2007 WL 1110757, at *3 (W.D. Okla. Apr. 11, 2007) (Friot, J.) (“Rule

9(b) . . . obligates plaintiffs to specify what deceptive or manipulative acts were

performed, which defendants performed them, when the acts were performed, and what

effect the scheme had on the plaintiffs.”). “At a minimum,” this rule “requires that a

plaintiff set forth the ‘who, what, when, where and how’ of the alleged fraud,” as well as

“the time, place, and contents of the false representation, the identity of the party making

the false statements and the consequences thereof.” Sikkenga, 472 F.3d at 726-27; see

also Morgan v. Organon USA, Inc., No. CIV-09-1076-F, 2009 WL 10671779, at *1

(W.D. Okla. Dec. 8, 2009) (Friot, J.) (quoting Sikkenga). “Dismissal of a claim for

failure to meet the particularity requirements of Rule 9(b) is treated as a dismissal for

failure to state a claim upon which relief can be granted under Rule 12(b)(6).” Wachovia

Bank, N.A. v. Bank of Okla., N.A., No. CIV-06-0263-F, 2006 WL 2934267, at *1 (W.D.

Okla. Oct. 13, 2006) (Friot, J.).

                                       ARGUMENT

       Notwithstanding the length of the SAC, Relator has not pled with Rule 9(b)’s

required particularity a fraudulent scheme to submit false claims based on underlying

violations of law. Each count of the SAC fails to meet the requirements of Federal Rules

12(b)(6) and 9(b) and should be dismissed as a matter of law.

I.     The Federal FCA Claims Should Be Dismissed (Counts 2-5)

       A.     Relator Fails to Identify a Single False Claim

       The FCA focuses on “those who present or directly induce the submission of false

or fraudulent claims.” Universal Health Servs., Inc. v. U.S. ex rel. Escobar, 136 S. Ct.



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1989, 1996 (2016) (citing 31 U.S.C. § 3729(a)). Rule 9(b), as interpreted by the Tenth

Circuit, requires the Relator to link his allegations regarding the purported schemes “with

particularity, [to] actual false claims submitted to the government” and to “provide

details that identify particular false claims for payment that were submitted to the

government.”     Sikkenga, 472 F.3d at 727 (emphases added); Morgan, 2009 WL

10671779, at *1 (same); see also U.S. ex rel. Sheldon v. Kettering Health Network, 816

F.3d 399, 411 (6th Cir. 2016) (“[T]here is ‘[a] clear and unequivocal requirement that a

relator allege specific false claims’ when pleading a violation of the FCA.”) (citation

omitted). Describing schemes without linking to specific allegations is insufficient:

       Rule 9(b)’s directive that “the circumstances constituting fraud and mistake
       shall be stated with particularity” does not permit a False Claims Act
       plaintiff merely to describe a private scheme in detail but then to allege
       simply and without any stated reason for his belief that claims requesting
       illegal payment must have been submitted, were likely submitted or should
       have been submitted to the Government.

Sikkenga, 472 F.3d at 727 (quoting Clausen, 290 F.3d at 1311). This is not a mere

“ministerial act”; rather, the submission of a false claim is “the sine qua non of a False

Claims Act violation.” Clausen, 290 F.3d at 1311; U.S. ex rel. Booker v. Pfizer, Inc., 847

F.3d 52, 57-58 (1st Cir. 2017). This specificity is critical because pleading the mere

submission of a false claim does not state an FCA violation. Relators must plead that

each claim was knowingly and materially false as well. See United States v. The Boeing

Co., 825 F.3d 1138, 1148 (10th Cir. 2016).

       Thus, while a relator need not identify every possible false claim, he must allege

some combination of the “details concerning the dates of the claims, the content of the



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forms or the bills submitted, their identification numbers, the amount of money charged

to the government, the particular goods and services for which the government was

billed, the individuals involved in the billing, and the length of time between the alleged

fraudulent practices and the submission of claims based on those practices.” Sikkenga,

472 F.3d at 727-28.     Moreover, a relator must provide more than mere conclusory

allegations regarding the false claims. See U.S. ex rel. Wagner v. Care Plus Home Health

Care, No. 15-CV-260-GKF-JFJ, 2017 WL 6329850, at *8 (N.D. Okla. Dec. 11, 2017)

(“The court is not bound to accept the Complaint’s conclusory allegations that defendants

have billed Medicare for unnecessary services.”).6 As detailed below, none of those

necessary details appear in Relator’s pleading.

       The SAC falls woefully short of the Rule 9(b) pleading requirement for each of the

remaining alleged schemes in the SAC. See Exhibit 1 (providing relevant paragraph

numbers for each). Instead of setting forth any of the required details, Relator attempts to

satisfy the pleading requirements with a repeated, generalized statement for each scheme



6
  Nor does the SAC set forth even a reasonable inference that false claims were submitted
as part of a fraudulent scheme. The Tenth Circuit, in U.S. ex rel. Lemmon v. Envirocare
of Utah, held that a complaint that (1) set forth “the dates, numbers, and amounts of
[defendant’s] requests for payment under its contracts with the government;” (2) alleged
that relators “reviewed ‘all’ of [defendant’s] requests for payment during the pertinent
period” and found them noncompliant with “contractual or regulatory obligations;” and
(3) averred “that each request for payment submitted during the pertinent time period was
paid in full by the government,” sufficiently supported “a reasonable inference that false
claims were submitted as part of” the varied schemes. 614 F.3d 1163, 1169, 1172 (10th
Cir. 2010). No such details are pled here, and so the SAC fails to set forth even a
“reasonable inference” of false claims tied to each alleged scheme. See Wagner, 2017
WL 6329850, at *4 (applying Lemmon and dismissing a qui tam complaint for failing to
allege basic facts such as the dates, amounts billed, or individuals involved).


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in the “Counts” section of the SAC that defendants “knowingly presented, or caused to be

presented false or fraudulent claims for payment or approval to the Government.” 7 This

type of “[t]hreadbare recital of the elements” is insufficient. Iqbal, 556 U.S. at 678-79.

       Relator attempts to proceed under an unconstrained “taint” theory, referencing the

purported total number of claims for payment submitted by OCOM. See, e.g., SAC ¶ 27

(alleging broadly that “OCOM is a . . . provider for federal healthcare programs and

routinely submits claims for payment to those programs” and that OCOM submitted

“11,370 claims for payment for Medicare beneficiaries for the years from 2011-2015”).

Moreover, at least as to the alleged schemes where there is any mention of submitting

claims whatsoever, Relator simply references “all” claims that resulted from referrals.

See, e.g., SAC ¶¶ 97-123 (Equity Scheme: alleging “all Governmental reimbursements to

OCOM from 2007 to the present that resulted from SOS referrals”); id. ¶¶ 124-33

(Employment Contract Scheme: alleging “all” claims that resulted from SOS referrals);

id. ¶¶ 151-63 (Anesthesia and National Anesthesia Schemes: APO “submitted or caused

to be submitted claims for payment to healthcare programs for designated healthcare

services, and remuneration was paid to APO’s owners from reimbursements from federal

healthcare programs”).

       Courts regularly dismiss FCA claims predicated on AKS violations where, as here,

the relator fails to link the alleged kickback scheme to an actual claim for payment. See,

e.g., Guilfoile v. Shields Pharmacy, LLC, No. 16-cv-10652, 2017 WL 969329, at *7 (D.

7
  Relator repeats this phrase 45 times without providing any of the required detail
necessary under Rule 9(b). See SAC ¶¶ 260-68, 276-84, 341-49, 357-65, 376-84.


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Mass. Mar. 10, 2017) (“An illegal payment that violates the anti-kickback statute

constitutes a false claim violation only when it results in a false claim being submitted to

the government.”); U.S. ex rel. Foster v. Bristol-Myers Squibb Co., 587 F. Sup. 2d 806,

825 (E.D. Tex. 2008) (ordering dismissal because “[relator] does not provide any factual

details from which this Court can reasonably infer a link between the kickback scheme he

describes and the submission of a claim for payment”); cf. U.S. ex rel. Grenadyor v.

Ukrainian Vill. Pharmacy, Inc., 772 F.3d 1102, 1107 (7th Cir. 2014) (“To comply with

Rule 9(b) [relator] would have had to allege either that the pharmacy submitted a claim to

Medicare . . . on behalf of a specific patient who had received a kickback, or at least

name a Medicare patient who had received a kickback.”).

       In one recent example, the Eleventh Circuit affirmed the dismissal of a qui tam

complaint that failed to identify “an actual false claim where the [defendant] both

violated the [AKS] when it unlawfully recruited a patient and then billed the government

for the services provided to that patient.” Carrel v. AIDS Healthcare Found., 898 F.3d

1267, 1277 (11th Cir. 2018). Notably, the court emphasized that it is not sufficient to

provide details regarding the underlying scheme (which the court described as the

“mosaic of circumstances”), even if those allegations suggest the increased likelihood of

violations (such as patient incentives, frequent requests for reimbursement from federal

healthcare programs, and policies focused on patient recruitment). Id. Nor could relators

“rely on mathematical probability to conclude that [defendants] must have submitted

false claim[s] at some point.”     Id. (“Speculation that false claims ‘must have been

submitted’ is insufficient.”).


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      Similarly, in United States ex rel. Greenfield v. Medco Health Solutions, the Third

Circuit rejected the relator’s argument that “the taint of a kickback renders every

reimbursement claim false.” 880 F.3d 89, 100 (3d Cir. 2018). A “kickback does not

morph into a false claim unless a particular patient is exposed to an illegal

recommendation or referral and a provider submits a claim for reimbursement pertaining

to that patient.” Id. Thus, the court affirmed the lower court’s judgment in favor of the

defendant because the relator had provided no evidence showing that at least one of the

federally insured patients “was exposed to a referral or recommendation . . . in violation

of the [AKS].” 8 Id.9

      Relator fails to identify a single false claim submitted to the government and

instead seeks to proceed under a “taint” theory, requiring this Court to infer what he was

required to plead. Relator has failed to meet Rule 9(b)’s requirements, and Counts 2, 3,

4, and 5 must be dismissed as to all Defendants.

      B.     Relator Fails to Plead Necessary Allegations to Establish AKS Liability

      The lack of a well-pleaded AKS violation is additionally fatal to Relator’s claims.


8
  Although Greenfield was resolved on summary judgment, it recognized that this
principle is equally “apt” at the motion to dismiss stage. Greenfield, 880 F.3d at 98 n.9.
9
  The Department of Justice is in accord. The government filed an amicus brief in
Greenfield, taking the position that the relator must show a connection between the
alleged kickbacks and the claims defendants submitted. See Br. of the United States as
Amicus Curiae, U.S. ex rel. Greenfield v. Medco Health Sols., No. 17-1152 at 8 (3d Cir.
2017) (“The district court properly rejected relator’s argument that any AKS violation by
[defendant] rendered all claims by [defendant] false, regardless of how the patients
associated with those claims came to be customers of [defendant]. Instead, to establish a
false claim, relator had to show a connection between the alleged kickbacks paid . . . and
the claims [defendant] submitted for federal beneficiaries.” (emphasis added)).


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The elements of the AKS violation must be pleaded with particularity under Rule 9(b)

because they are brought as an FCA claim. U.S. ex rel. Conner v. Salina Reg’l Health

Ctr., Inc., 543 F.3d 1211, 1214 (10th Cir. 2008) (affirming dismissal of alleged FCA

violation for failure to state a violation of the AKS); see also U.S. ex rel. Bennett v.

Medtronic, Inc., 747 F. Supp. 2d 745, 783-85 (S.D. Tex. 2010) (dismissing kickback

allegations for failure to meet the requirements of Rule 9(b)).

       The AKS prohibits “any remuneration knowingly and willfully offered, paid,

solicited, or received in exchange for Medicare or Medicaid patient referrals.” Conner,

543 F.3d at 1223; see also 42 U.S.C. § 1320a-7b(b)(1). A complaint must allege at least

three elements to make a prima facie case for a violation of the AKS: (1) the soliciting

offer, or receipt of remuneration, (2) in exchange for federally insured referrals, and (3)

with knowing and willful intent. Regarding intent, the relator must allege that each

defendant acted both “knowingly and willfully,” i.e., with intent to obtain referral of

federally insured patients, and with intent to solicit or receive remuneration in exchange

for referrals. See United States v. Franklin-El, 554 F.3d 903, 911 (10th Cir. 2009). In

other words, “one purpose of the offer or payment” must be to “induce Medicare or

Medicaid patient referrals.” United States v. McClatchey, 217 F.3d 823, 835 (10th Cir.

2000); see also U.S. ex rel. Dennis v. Health Mgmt. Assocs., Inc., No. 3:09-cv-00484,

2013 WL 146048, at *13 (M.D. Tenn. Jan. 14, 2013) (“[T]he key consideration is

whether a physician referred a patient for which federal reimbursement was sought.”).

       Relator fails to plead the referral of a single federally insured patient with

particularity, much less with the requisite intent to obtain such a referral.


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                1.     Relator Has Not Alleged With Particularity That Federally
                       Insured Patients Were Referred In Violation of the AKS

         Relator has failed to allege with particularity that a single federally insured

individual was referred as a result of the various purported schemes he has alleged. He

does no more than include perfunctory recitation of “referrals of federally-insured

patients” in the concluding sections of his pleading describing the various “counts” and

alleged schemes. See, e.g., SAC ¶¶ 278-82, 284-85, 322-24 et seq. Though Relator

repeats this phrase ad nauseam throughout this section, he never goes beyond this bald

assertion.     He never describes in any detail which federally insured patient was

improperly referred, when it happened, or the amount of any claim involved. This mere

rote recitation is insufficient under the law.

         For example, in United States v. Medco Health Systems, Inc., No. 12-

522(NLH)(AMD), 2013 WL 6858758 (D.N.J. Dec. 30, 2013), the relator pled that “59 of

401” patients referred by the alleged scheme “had private insurance,” yet of “the

remaining 352 patients”10 the relator included “no factual allegations” to support the

inference they “were under a federal . . . program.” Id. at *7. Although the fact they

“were not privately insured . . . [left] open the question of what kind of financial

assistance [they] received,” that “open question [was] not sufficient to meet” Rule 9(b).

Id. at *8. In this case, Relator’s allegations are even more deficient than those in Medco,

and therefore plainly fail to state a viable theory of AKS violations.

         Relator attempts to get around this lack of specificity by drawing inferences in his


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     401 minus 352 equals 49, not 59. This apparent error appears within the opinion.


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pleadings, but this is of no help—proper allegations must be sufficiently detailed to

demonstrate that federally insured patients were referred under the purported schemes.

Relator contends that some SOS patients are federally insured, see SAC ¶ 26 (“SOS is a

credentialed and contracted provider for federal healthcare programs and routinely

submits claims for payment to those programs . . . .”), and that SOS was responsible for a

substantial amount of OCOM’s revenue, see id. ¶ 101 (“SOS Doctors account for

approximately two-thirds of OCOM’s referrals and total revenue.” (emphasis omitted)).

       Relator apparently hopes to infer from these broad statements that some number of

federally insured patients must have been referred from SOS to OCOM, but Relator’s

telling failure to specifically identify any referral of federally insured patients dooms his

AKS allegations under Rule 9(b). See U.S. ex rel. Lacy v. New Horizons, Inc., No. CIV-

07-0137-HE, 2008 WL 4415648 at *5 (W.D. Okla. Sept. 25, 2008) (upholding dismissal

of AKS-based FCA claims for failure to set forth the particulars required by Rule 9(b)),

aff’d, 348 F. App’x 421 (10th Cir. 2009); U.S. ex rel. Barrett v. Columbia/HCA

Healthcare Corp., 251 F. Supp. 2d 28, 35 (D.D.C. 2003) (dismissing kickback FCA

claims because the kickback “allegations [we]re not connected specifically to Medicare

patients” and were “too vague to give defendants notice of the relationship between the

alleged kickbacks and the submission of claims to Medicare” (emphasis added)); U.S. ex

rel. King v. Solvay S.A., 823 F. Supp. 2d 472, 499 (S.D. Tex. 2011) (dismissing kickback

FCA claims where relator tried to plead the “link[]” between kickback scheme and

federal reimbursement by alleging medical provider “was in an economically depressed

area” with “a high proportion of Medicaid enrollees”).


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                2.   Relator Has Failed to Allege the Intent Required by the AKS

       Relator also fails to adequately plead—as he must—that at least one purpose of

the alleged remuneration was to obtain referral of federally insured patients. He attempts

to remedy this shortcoming by effectively reading this element out of the statute and

arguing for a kind of strict liability: that the alleged AKS violations “taint all

reimbursements” to OCOM and others. SAC ¶ 7 (emphasis added); see also, e.g., id. ¶ 4

(“[T]he relationship between SOS and OCOM has been illegally tainted by unlawful

financial relationships and illegal kickbacks.    As a result, healthcare reimbursement

claims Defendants submitted to the federal government and the State of Oklahoma

violate healthcare laws.”); id. ¶ 7.e. (“[T]he relationship between the SOS Defendants and

the OCOM Defendants is so tainted with improper financial relationships and kickbacks

that all OCOM reimbursements from the Government from at least 2007.” (emphasis

added)); id. ¶ 135 (“[T]he relationship between the SOS Defendants and the OCOM

Defendants is so tainted with improper financial relationships and kickbacks that all

OCOM reimbursements from the Government for DHS from at least 2007 are reachable

by the Stark Law, AKS, FCA, and/or OKFCA.”).               This broad-brush pleading is

insufficient.

       To adequately plead AKS liability, Relator must separate out and specifically

distinguish federally insured referrals (to the extent any exist) from private referrals in

order to demonstrate the requisite purpose behind an allegedly improper federal referral.

See, e.g., Conner, 543 F.3d at 1224 (affirming dismissal of AKS theory which “applied

equally to a patient paying out of pocket or with private insurance” as to “Medicare


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patients”). This is a critical distinction, as a “hospital or individual may lawfully enter

into a business relationship with a doctor and even hope for or expect referrals from that

doctor, so long as” obtaining federally insured referrals is not one purpose of that

relationship. McClatchey, 217 F.3d at 834.

       Relator’s failure to distinguish any improper federal referrals means he cannot

demonstrate the requisite intent needed for AKS liability. See, e.g., Foster, 587 F. Supp.

2d at 824 (dismissing relator’s claim that a kickback scheme caused “physicians to

prescribe Defendant’s drugs over its competitors . . . to physicians’ entire patient

population comprised of, among others, Medicaid subscribers” where relator did not

name “any patient who received [prescriptions]—much less show that the patient was

connected to Medicaid” and the “Court [was] without information to suggest that

kickbacks induced any recommendations connected to a [sic] federal healthcare

patients”).

       C.     Certain Alleged Schemes/Claims Should Be Dismissed For Other
              Reasons

              1.     Relator Fails to Plead Necessary Allegations to Establish Stark
                     Law Liability for the Alleged “Employment Contract Scheme”

       The Stark Law prohibits referrals of certain federally insured services between a

physician and a host of entities if the physician has a “financial relationship” with the

entity. 42 U.S.C. § 1395nn(a). The law was “enacted to address overutilization of

services by physicians who stood to profit from referring patients to facilities or entities

in which they had a financial interest.” U.S. ex rel. Drakeford v. Tuomey Healthcare

Sys., 675 F.3d 394, 397 (4th Cir. 2012). Necessarily, though, the law is subject to a wide


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range of exceptions. See 42 U.S.C. § 1395nn(b)-(e). In particular, as pled, Relator’s

purported “Employment Contract Scheme” does not violate the Stark Law because it falls

within the bona fide employment relationship exception as a matter of law.

       “Bona fide employment relationships” are not considered impermissible financial

relationships under the Stark Law. Id. § 1395nn(e)(2). This type of relationship is one

that is (1) for “identifiable services,” where (2) “the amount of the remuneration under

the employment is consistent with the fair market value of the services and is not

determined in a manner that takes into account . . . the volume or value of any referrals

by the referring physician,” and (3) the “remuneration is provided pursuant to an

agreement which would be commercially reasonable even if no referrals were made to

the employer.” Id.

       The SAC affirmatively alleges facts that place the alleged “Employment Contract

Scheme” squarely within this safe harbor. The crux of the alleged “scheme” is simply

that OCOM hired various new physicians to work at OCOM facilities while building

their practice. SAC ¶¶ 124-33. The SAC concedes that employment agreements existed

between OCOM and various doctors. Id. ¶ 125. There is no allegation that the services

were not “identifiable,” that the remuneration under the contract was not “consistent with

the fair market value of the services” or that the agreement was not “commercial[ly]

reasonable.” 42 U.S.C. § 1395nn(e)(2). To the contrary, the individual was hired to be

an “orthopedic surgeon,” SAC ¶ 125, and the contract provided a reasonable “opportunity

for a bonus” after a fixed period of service, id. ¶¶ 126-27.




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               2.     Relator Fails to Plead Facts Supporting Liability for USP, USPI,
                      USPH, and Tenet Regarding Certain Alleged Schemes

        In order to satisfy Rule 9(b), relators must—of course—make specific allegations

 regarding each defendant. See, e.g., U.S. ex rel. Takemoto v. Nationwide Mut. Ins. Co.,

 674 F. App’x 92, 95 (2d Cir. 2017) (“As an initial matter, th[e] [FCA’s] statutory

 language contemplates individualized pleading for each defendant of the source of the

 obligation.”); United States v. Corinthian Colls., 655 F.3d 984, 997-98 (9th Cir. 2011)

 (“Rule 9(b) does not allow a complaint to merely lump multiple defendants together but

 requires plaintiffs to differentiate their allegations when suing more than one

 defendant.”); Total Energy Fabrication Corp. v. Irizar Heavy Indus., Inc., No. CIV-14-

 474-L, 2014 WL 12767463, at *2 (W.D. Okla. June 26, 2014) (Rule 9(b) requires “the

 detail necessary to provide each defendant with adequate notice of a sufficient claim or

 the facts upon which it is based”).11

        Yet the SAC routinely alleges specific defendants are liable for a purported

 scheme in the “Claims” section, SAC ¶¶ 238-412, without actually pleading that the

 defendant had any role in the alleged scheme. The following alleged schemes and

 attendant claims should be dismissed as to the defendants specified below based on this

 failure to satisfy basic Rule 9(b) requirements.




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   There is no exception to this rule where the defendants are related entities. See United
 States v. Scan Health Plan, No. CV 09-5013-JFW (JEMx), 2017 WL 4564722, at *7
 (C.D. Cal. Oct. 5, 2017) (Rule 9(b) requirements are the same “when the defendants are
 related corporate entities”).


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                    a.     The Purported Employment Contract Scheme Includes
                           No Allegations as to USP, USPI, USPH or Tenet

      For the “Employment Contract Scheme” Relator contends that nearly all

defendants are liable, SAC ¶ 16, Tbl. I; id. ¶ 48 nn.24-29, yet he makes factual

allegations regarding the alleged misconduct for only two SOS Doctors (Cruse and

Langerman) and OCOM, id. ¶¶ 124-33. He references USP in one single paragraph, id.

¶ 132, but only in that it sought to terminate the financial relationships. There are no

allegations whatsoever regarding USPI, USPH or Tenet.

                    b.     The Purported Surgical Scrub Scheme Includes No
                           Allegations as to USP, USPI, USPH or Tenet

      For the “Surgical Scrub Scheme” Relator contends that nearly all defendants are

liable, SAC ¶ 16, Tbl. I; id. ¶ 48 nn.24-29, yet makes factual allegations regarding only

Cruse and Langerman, id. ¶¶ 136-41. He alleges that OCOM “agreed” to create the

described financial relationship, ¶ 141, but otherwise lumps in all defendants as “OCOM

Defendants.” There are no specific allegations regarding USP, USPI, USPH or Tenet.

                    c.     The Purported Sham Lease Scheme Includes No
                           Allegations as to USP, USPI, USPH or Tenet

      For the “Sham Lease Scheme” Relator contends that nearly all defendants are

liable, SAC ¶ 16, Tbl. I; id. ¶ 48 nn.24-29, yet makes particular factual allegations

regarding only Cruse, Langerman, and OCOM, id. ¶¶ 142-46. There are no allegations

whatsoever regarding USP, USPI, USPH or Tenet.

                    d.     The Purported Office Space Scheme Includes No
                           Allegations as to USP, USPI, USPH or Tenet

      For the “Office Space Scheme” Relator contends that nearly all defendants are

liable, SAC ¶ 16, Tbl. I; id. ¶ 48 nn.24-29, yet makes particular factual allegations


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regarding only Cruse and OCOM, id. ¶¶ 147-49. There are no allegations whatsoever

regarding USP, USPI, USPH or Tenet.

                      e.      The Purported Credit Card Scheme Includes No
                              Allegations as to USP, USPI, USPH or Tenet

       For the “Credit Card Scheme” Relator asserts that nearly all defendants are liable,

SAC ¶ 16, Tbl. I; id. ¶ 48 nn.24-29, yet makes factual allegations regarding only Cruse,

Hendley and OCOM, id. ¶ 150. There are no allegations whatsoever regarding USP,

USPI, USPH or Tenet.

                                        *      *       *
       In sum, Counts 2 and 3 should be dismissed against USP, USPI, USPH (and

Tenet, as explained in its Brief) as to the alleged schemes described above, as there are no

factual allegations whatsoever delineating their role in any alleged fraud. See, e.g., U.S.

ex rel. Williams v. City of Elk City, No. CIV-07-139-W, 2008 WL 11343000, at *8 (W.D.

Okla. Oct. 16, 2008) (FCA complaint must “reasonably inform each defendant of the

fraudulent activities . . . for which he, she or it is being held responsible”).

       D.     Relator’s “False Statement” Counts Fail for the Same Reasons

       Relator alleges generally in Counts 4-5 that the Defendants’ certifications in “Cost

Reports, attestations, EHR certifications, and individual claims for payment” separately

violated the FCA.          SAC ¶¶ 301, 304. The SAC alleges generally that various

certifications would have been false, but it is missing the critical link to any actual

purported false record or statement, as is required for any alleged violation of 31 U.S.C.

§ 3729(a)(1)(B). Instead, the SAC states that “thousands of claims for payment and

required reporting” would have included the purportedly problematic certifications.


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SAC ¶ 193. Even regarding the EHR program allegations, all Relator states regarding the

specific false record in question is that “OCOM successfully made attestation and

certification” and received “incentive payments.” Id. ¶ 201.

       These allegations fail because, like Relator’s direct FCA allegations, they rest on

supposition and do not include any particulars regarding the who, what, and where

related to these purportedly false statements. Relator does not identify or attach a single

false record or statement, the precise date when or where anyone made these false

statements, or to whom the Defendants submitted any false statements. See U.S. ex rel.

Bahrani v. Conagra, Inc., 465 F.3d 1189, 1205 (10th Cir. 2006). Relators’ vague and

conclusory pleading is a textbook example of the uncertain pleading that Rule 9(b)’s

particularity standard is designed to avoid; thus, Counts 4 and 5 of the SAC should be

dismissed.

II.    Relator Fails to Plead a Claim for Conspiracy (Count 7)

       Count 7 of the SAC alleges generally that defendants conspired with each other

under the alleged schemes. SAC ¶ 329. To plead an FCA conspiracy claim, Relator

must allege “(1) that an agreement existed to have false or fraudulent claims allowed or

paid by the United States; (2) that [defendant] willfully joined that agreement . . .; and (3)

that one or more conspirators knowingly committed one or more overt acts in furtherance

of the object of the conspiracy.” U.S. ex rel. Miller v. Bill Harbert Intern. Const., Inc.,

608 F.3d 871, 899 (D.C. Cir. 2010). The SAC fails to meet these requirements.

       First, as a threshold matter, because Relator has failed to properly allege any

substantive violation of the FCA, the conspiracy claim necessarily fails. See U.S. ex rel.


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Petras v. Simprael, Inc., 857 F.3d 497, 507 (3d Cir. 2017) (“Our explanation of why the

District Court was correct in dismissing the FCA claim applies with equal force to the

dismissal of [Relator’s] conspiracy claim.”); Pencheng Si v. Laogai Research Found., 71

F. Supp. 3d 73, 98 (D.D.C. 2014) (“[T]here can be no conspiracy to commit fraud in

violation of the FCA if an underlying false claim has not been adequately alleged.”).

       Second, Relator fails to allege specifics related to the purported conspiracy beyond

conclusory statements, even though a conspiracy claim is subject to the same heightened

Rule 9(b) pleading standard as any other FCA claim. See Sikkenga, 472 F.3d at 726-28;

U.S. ex rel. Poisson v. Red River Serv. Corp., 621 F. Supp. 2d 1153, 1157 (W.D. Okla.

2008). A relator must allege the workings of the scheme, participants, and other specific

facts that show an agreement to violate the FCA.        See U.S. ex rel. Chase v. HPC

Healthcare, 723 F. App’x 783, 791 (11th Cir. 2018); U.S. ex rel. Joshi v. St. Luke’s

Hosp., Inc., 441 F.3d 552, 556 (8th Cir. 2006); Poisson, 621 F. Supp. 2d at 1157.

       Relator does not come close to meeting this requirement. The SAC provides no

specifics regarding when the alleged conspiracy arose, who agreed with whom, the object

of the conspiracy, what was done to effect the conspiracy, or other required particulars.

Instead, the SAC repeats generalized legal conclusions, such as that the Defendants

“acted in furtherance of this conspiracy” (SAC ¶¶ 320-28), that “overtly acted and

conspired” (id. ¶ 114, see also id. ¶ 115), and “conspired to violate the FCA” (id. ¶ 319).

Count 7 does not even identify the supposed conspirators among the myriad defendants,

instead using the umbrella terms “Defendants,” “OCOM Defendants” and “SOS

Defendants” to sweep in all the defendants throughout this Count. See id. ¶¶ 317-33.


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Such generalized allegations are routinely dismissed by courts.           See, e.g., HPC

Healthcare, 723 F. App’x at 791 (affirming dismissal for failing to identify specific facts

showing agreement to violate FCA); Corsello v. Lincare, Inc., 428 F.3d 1008, 1014 (11th

Cir. 2005) (dismissing conspiracy claim where the “bare legal conclusion” that

defendants “conspired to defraud” was not supported by specific factual allegations).

       For all these reasons, the Court should dismiss the conspiracy count.12

III.   Relator’s State Law Claims Should be Dismissed (Counts 9, 10, 11, 12)

       Counts 9-12 of the SAC allege violations of Oklahoma’s version of the FCA

(“OKFCA”). SAC ¶¶ 339-400, 407-12 (citing 63 O.S. § 5053 et seq.). These causes of

action arise from the same allegations as the federal claims in Counts 2-4. Because the

OKFCA parallels the federal FCA, Counts 9-12 should be dismissed for the same

reasons. See, e.g., U.S. ex rel. Colquitt v. Abbott Labs., 864 F. Supp. 2d 499, 537-38

(N.D. Tex. 2012), aff’d, 858 F.3d 365 (5th Cir. 2017) (dismissing both FCA and state law

claims with prejudice where FCA requirements not met and no difference in state law).

       In addition, Count 11 is predicated on an alleged violation of the Oklahoma

Medicaid Program Integrity Act (“MPIA”).             See SAC ¶¶ 374-75 (citing 56

O.S. § 1005). The SAC entirely fails to allege a violation of the MPIA as to the OCOM

defendants. Unlike the AKS, Section 1005(A)(6) of the MPIA does not apply to those

who “offer or pay” kickbacks—it only applies to those that “solicit or accept” kickbacks.
12
   Even if Relator could sufficiently plead facts relating to a conspiracy (he cannot), his
claim is not cognizable for any conspiracy between corporate defendants and their
respective employees or subsidiaries. As a matter of law, FCA conspiracy claims based
upon the actions of a corporation and its agents are barred by the intra-corporate
conspiracy doctrine. See Lacy, 2008 WL 4415648, at *6.


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56 O.S. § 1005(A)(6).     Moreover, the SAC fails to allege any claims submitted

specifically to the “Oklahoma Medicaid Program,” a requirement of the MPIA. See id.

       Finally, Relator asserts that this Court has “supplemental jurisdiction” over the

state law claims. SAC ¶ 51. However, this Court can decline to exercise that jurisdiction

if it dismisses all claims over which it has original jurisdiction. Thus, if this Court

dismisses the federal claims, it should dismiss the state law claims. See 28 U.S.C.

§ 1367(c)(3); Panis v. Mission Hills Bank, N.A., 60 F.3d 1486, 1492 (10th Cir. 1995);

U.S. ex rel. New Mexico v. Deming Hosp. Corp., 992 F. Supp. 2d 1137, 1166 (D.N.M.

2013) (dismissing state law claims where federal FCA claims had been dismissed).

IV.    Relator Fails to Plead a Claim Under the Reverse FCA (Count 6)

       Relator misunderstands the purpose of the reverse false claim provision of the

FCA. The fundamental requirement of this type of violation is an “obligation to pay or

transmit money or property to the government.” 31 U.S.C. § 3729(a)(1)(G). As the

Tenth Circuit has explained, the intent of this provision was “to provide that an individual

who makes a material misrepresentation to avoid paying money owed the Government

would be equally liable under the Act as if he had submitted a false claim to receive

money.” See Bahrani, 465 F.3d at 1194 (emphases added).

       But there is no assertion here that Defendants had an obligation to pay funds to the

Government and avoided doing so. Relator’s theory of reverse FCA liability merely

echoes his allegations that the Defendants committed direct FCA violations—then adds

the assertion that Defendants “received reimbursement from the government for which

they were not entitled” and failed to “return [these] wrongly received reimbursement[s].”


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SAC ¶¶ 311-12. In other words, the only monies Defendants allegedly avoided paying

are those they purportedly received as a result of violating the FCA. But an “obligation”

under the reverse FCA does not arise simply by concealing fraudulent activity. U.S. ex

rel. Scollick v. Narula, 215 F. Supp. 3d 26, 44 (D.D.C. 2016) (rejecting reverse false

claim based on “assertion that the defendants retained government funds that they knew

were obtained as a result of fraud” because “plaintiff-relator may not argue that an

obligation to pay the government arose solely [out] of the concealment of fraudulent

activity”). Relator’s theory would mean that every FCA case would state a reverse false

claim, a position that has been readily rejected by every court that has addressed it. See,

e.g., U.S. ex rel. Taylor v. Gabelli, 345 F. Supp. 2d 313, 338 (S.D.N.Y. 2004) (“Close

examination of these claims leads to the inescapable conclusion that they are redundant—

two ways of describing the same transaction. Because [relator’s] allegations state a

[direct false claim], they cannot also form the basis for a [reverse false claim].”);

Pencheng, 71 F. Supp. 3d at 97 (same); U.S. ex rel. Scott v. Pac. Architects & Eng’rs.

(PAE), Inc., 270 F. Supp. 3d 146, 155 (D.D.C. 2017) (same).

V.    Relator Cannot Bring a Claim for Violation of the Stark Law (Count 1)

      The first count of the SAC is a cause of action under the Stark Law. See SAC

¶¶ 238-57. However, on-point case law holds that there is no private right of action

under the Stark Law.13 See, e.g., Ameritox, Ltd. v. Millennium Labs., Inc., 803 F.3d 518,

522 (11th Cir. 2015) (“neither Stark nor AKS provide private rights of action . . .”);


13
  Relator rightfully concedes in the SAC that the AKS lacks a private right of action, see
SAC ¶ 68, yet bizarrely makes no such concession under the Stark Law.


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Drakeford, 675 F.3d at 396 (“Stark Law does not create its own right of action . . .”); U.S.

ex rel. Bruno v. Schaeffer, No. 16-00001-BAJ-EWD, 2018 WL 3041191, at *8 (M.D. La.

June 18, 2018) (“[T]he Stark Law does not create a private right of action. Relators’

Stark Law claim is therefore dismissed.”) (internal citations omitted); St. John Health

Sys., Inc. v. Cohen, No. 10-CV-0066-CVE-TLW, 2010 WL 1727971, at *4 (N.D. Okla.

Apr. 27, 2010) (citing case law). This Court should dismiss Count 1 in the SAC.

VI.    Claims Prior to May 27, 2010 are Barred by the FCA’s Statute of Limitations

       Relator attempts to pursue false statements and false claims for payment dating

back to 2004 for the Surgical Scrub Scheme, 2007 for the Employment Contract and

Office Space Schemes, and 2011 for the Credit Card Scheme. See, e.g., SAC ¶¶ 16, 124,

138, 150, 242, 244-45. However, all of Relator’s claims pre-dating six years prior to the

filing of the relevant complaint are barred by the FCA’s statute of limitations. The

FCA’s limitations period is six years. 31 U.S.C. § 3731(b)(1); see also Sikkenga, 472

F.3d at 725 (holding that the FCA’s six-year limit applies to actions pursued by private

qui tam relators).14 Relator filed his Complaint on May 27, 2016. The Employment

Contract and Anesthesia claims were introduced in the First Amended Complaint, filed

on December 8, 2016. Accordingly, any claims for payment submitted before 2010 are

time-barred. Specifically, any claims for payment related to the Surgery Scrub, Office

Space, and Credit Card Schemes submitted prior to May 27, 2010, and claims related to

the Employment Contract Scheme submitted prior to December 8, 2010, are barred.


14
   The FCA’s three-year tolling period is not applicable to qui tam suits brought by
relators in which the government does not intervene. See Sikkenga, 472 F.3d at 725.


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VII.   Dismissal Should Be With Prejudice

       Relator should not be given a fourth chance to plead his case. “A dismissal with

prejudice is appropriate where a complaint fails to state a claim . . . and granting leave to

amend would be futile.” U.S. ex rel. Tracy v. Emigration Improvement Dist., No. 2:14-

CV-00701, 2018 WL 3111687, at *4 (D. Utah June 22, 2018) (quoting Brereton v.

Bountiful City Corp., 434 F.3d 1213, 1219 (10th Cir. 2006)). Relator filed this case more

than two years ago and has already amended his complaint twice to no avail. If Relator

could state his claims with the necessary particularity under Rule 9(b), he would have

done so already. Relator cannot tie any of the purported schemes to a claim for payment

and will not be able to do so if permitted to amend. Indeed, Relator would be hard-

pressed to add any additional detail to his pleading given that he improperly destroyed

relevant documents. Moreover, this entire action and is subject to dismissal due to both

this spoliation and relator’s ethical obligations as an attorney for the very defendants he is

suing. See supra at 1 & n.2 (citing case law); id. at 4 & n.5.

       Accordingly, further amendment would be futile, and the case should be dismissed

with prejudice. See U.S. ex rel. Simpson v. Leprino Foods Dairy Prods. Co., No. 16-CV-

00268-CMA-NYW, 2018 WL 1375792, at *5 (D. Colo. Mar. 19, 2018) (dismissing with

prejudice where relator failed to plead each required element of an FCA case).

                                      CONCLUSION

       For the foregoing reasons, the Court should dismiss Relator’s Second Amended

Complaint.




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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 12, 2018, the undersigned

electronically filed the foregoing with the Clerk of the Court, to be served by operation of

the Court’s electronic filing system upon all counsel of record.



Dated October 12, 2018                                  /s/ Abid R. Qureshi
